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                    IN THE UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF MARYLAND

WALTER O’RILEY POINDEXTER      *
                               *
     Petitioner,               *     CIVIL NO. WDQ-05-829
                               *     CRIMINAL NO. WDQ-03-213
            v.                 *
                               *
UNITED STATES OF AMERICA,      *
                               *
      Respondent.              *
                         * * * * * * *

                        GOVERNMENT’S POST-HEARING BRIEF

       The United States of America, by its undersigned counsel, Rod J. Rosenstein, United

States Attorney for the District of Maryland, and Harry M. Gruber, Assistant United States

Attorney for said District, respectfully submits the following post-hearing brief in opposition to

petitioner’s motion to vacate pursuant to 28 U.S.C. § 2255.

                                        BACKGROUND

       On May 1, 2003, a federal grand jury returned an Indictment against Defendants Walter

Poindexter and Deon Smith. The Indictment charged Poindexter with conspiring to distribute

and possess with intent to distribute over one kilogram of heroin, in violation of 21 U.S.C. § 846,

and three counts of distributing heroin, in violation of 21 U.S.C. § 841. The grand jury later

returned a Superseding Indictment, adding additional charges against Deon Smith. The case

proceeded to a jury trial before this Court on December 1, 2003. Messrs. Arcangelo Tuminelli

and Kenneth Ravenell represented Poindexter and Smith, respectively.

       On December 4, 2003, after three days of trial, Poindexter pled guilty pursuant to a

written plea agreement, to three counts of distributing heroin. In the written plea agreement and


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during the rearraignment, Poindexter admitted that he sold heroin to an FBI cooperating witness

on three separate occasions. See Ex. 5. As part of Poindexter’s guilty plea, the government

agreed to dismiss the drug conspiracy charge involving at least one kilogram of heroin – a drug

amount substantially higher than the 40-60 grams of heroin attributable to his offenses under the

plea agreement. Additionally, as part of the guilty plea, the Baltimore City State’s Attorney

Office agreed not to prosecute Poindexter for “any conduct that formed the basis of th[e] federal

prosecution,” including Poindexter’s alleged use of a firearm to commit murder on January 22,

2001, and the federal government agreed not to seek any sentencing enhancement based on this

conduct. See id.

       In his plea agreement, Poindexter further agreed to a variety of other provisions, including

an appeal waiver and certain understandings about his guideline calculation, including the fact

that he might be sentenced as a career offender.1 See id.       On December 4, 2003, this Court

conducted a Rule 11 proceeding. During the hearing, the Court and the government advised

Poindexter about the significant provisions of the plea agreement, including the appellate waiver

and his possible designation as a career offender.

       The presentence report revealed that Poindexter was a career offender, based on Poindexter’s

prior convictions for Assault with Intent to Maim (involving the use of a firearm on a police officer),



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          The plea agreement provided that there was “no agreement” as to Poindexter’s criminal
history or criminal history category, but that “if [Poindexter] is a career offender, the base offense
level is adjusted to 32 pursuant to U.S.S.G. § 4B1.1(c).” Ex. 5 at para. 6(b). The appeal waiver
provision read as follows: “[Poindexter] . . . knowingly and expressly waive[s] all rights
conferred by 18 U.S.C. Section 3742 to appeal whatever sentence is imposed, including any
issues that related to the establishment of the guideline range, reserving only the right to appeal
from an upward . . . departure from the guideline range that is established at sentencing.” Ex. 5
at para. 8.

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and Possession with Intent to Distribute Cocaine.2 See Ex. 6. On March 12, 2004, the case

proceeded to sentencing before this Court. During the hearing, this Court found that Poindexter was

a Career Offender with a final offense level of 30 and a criminal history category of VI. The Court

also granted the government’s motion for a one-level downward adjustment pursuant to U.S.S.G.

Section 5K1.1.3 This Court sentenced the Defendant to 168 months imprisonment, which was within

the applicable guideline range.

       On March 28, 2005, Poindexter filed a motion to vacate his conviction pursuant to 28 U.S.C.

§ 2255, advancing a plethora of arguments. Among his various arguments, Poindexter claimed that

he was denied the effective assistance of counsel when he asked Mr. Tuminelli to file an appeal and

he failed to do so, and when Mr. Tuminelli failed to object to the filing of a Section 851 Information,

adequately advise Poindexter about the guilty plea, and object at sentencing to Poindexter’s career

offender status. Poindexter also argued that his conviction should be vacated due to alleged

prosecutorial misconduct by Assistant United States Attorney Jonathan Luna and insufficiency of

the evidence.

       This Court denied Poindexter’s petition, finding no merit in any of Poindexter’s claims. The

Fourth Circuit then granted a certificate of appealability, focused solely on Poindexter’s purported

request that Mr. Tuminelli file an appeal on his behalf. The Fourth Circuit then issued a decision



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          Poindexter also incurred additional criminal history points due to his two prior
convictions for possession of controlled dangerous substances and his decision to commit the
present offense while still subject to a state sentence for the prior drug distribution offense.
Nevertheless, because of his status as a Career Offender, these enhancements resulted in no
actual increase in Poindexter’s sentence.
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          Poindexter agreed to be interviewed by the government in connection with the death of
Assistant United States Attorney Jonathan Luna.

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of first impression in this Circuit, extending the Supreme Court’s decision in Roe v. Flores-Ortega,

528 U.S. 470 (2000), and holding that if a trial counsel fails to file an appeal after being asked to do

so by a client, that failure amounts to per se ineffective assistance of counsel – regardless of whether

the defendant waived his right to file the underlying appeal that the attorney failed to file. See

United States v. Poindexter, 492 F.3d 263, 272 (4th Cir. 2007). The Fourth Circuit remanded

Poindexter’s case to this Court and instructed this Court to conduct an evidentiary hearing to

determine if Poindexter actually asked his attorney to appeal and the attorney failed to do so.

       On June 5, 2008, this Court held an evidentiary hearing concerning Poindexter’s purported

request to appeal. The defense called two witnesses: Poindexter and Theresa Rhyne. The

government called Mr. Tuminelli.

                                            ARGUMENT

I.     Arcangelo M. Tuminelli Was Not Constitutionally Ineffective.

       A.      Poindexter’s Petition Should Be Denied Because He Did Not Request That
               Mr. Tuminelli File An Appeal.

       The parties appear to be in agreement that the crucial issue before this Court in these post-

conviction proceedings is whether Poindexter asked his attorney, Mr. Arcangelo Tuminelli, to file

an appeal in March 2004 of his conviction and sentence for distributing heroin on three different

occasions in September 2002. If this Court makes a factual finding that Poindexter asked Mr.

Tuminelli to appeal before the time for filing such an appeal lapsed, the Fourth Circuit’s recent

decision requires this Court to vacate the Defendant’s conviction.     The evidence at the evidentiary

hearing, however, demonstrated that Poindexter did not ask his attorney to appeal, and thus

Poindexter’s petition should be dismissed. The government asks this Court to make a factual finding



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that no timely request to file an appeal was made by Poindexter to Mr. Tuminelli. In support of this

finding, the government argues that this Court should credit the testimony of Arcangelo Tuminelli,

one of the most respected members of this Court’s bar, and reject the testimony of Poindexter and

Ms. Rhyne.

               1.      This Court Should Credit The Testimony Of Respected Attorney
                       Arcangelo Tuminelli.

       Mr. Tuminelli testified at the evidentiary hearing that Poindexter never asked him to file an

appeal. Mr. Tuminelli testified in a very credible manner, his statements made sense and were

supported by the documents and other relevant evidence, and he obviously recalled this case well.

As Mr. Tuminelli explained to this Court, the case was unusual because (1) he achieved what he

considered to be a phenomenal result for his client and (2) his opposing counsel, Assistant United

States Attorney Luna, died during the course of the proceedings. As Mr. Tuminelli stated at the

conclusion of his testimony at the evidentiary hearing, this case “sticks out more than most, and [is]

probably one of the five that I remember the most about” in 29 years of practicing law. Tr. at 97.

       Mr. Tuminelli’s testimony at the evidentiary hearing plainly established that he was never

asked to appeal by Poindexter, Poindexter’s mother, or Theresa Rhyne. At the hearing, Mr.

Tuminelli testified as follows on this crucial point:

       I firmly am convinced that neither he, nor his mother – and I learned today I guess
       its Sergeant Rhyne, that none of them to my knowledge and belief, ever raised the
       possibility of filing an appeal for Walter. Again, if I had heard that, I would have
       been shocked by it, and I would have talked to Walter . . . .

Tr. at 81. On another occasion during the evidentiary hearing, Mr. Tuminelli was asked to clarify

this point. He was asked, “And, again, your testimony is that neither Mr. Poindexter, his mother,

nor the corrections officer asked you to file an appeal on his behalf?” Tr. at 84. Mr. Tuminelli

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answered without hesitation, “That is correct.” Id.

        Mr. Tuminelli’s testimony about the alleged request to file an appeal makes sense because

such a request would have been very surprising to him in light of the entire context of his discussions

with Poindexter and the favorable nature of the plea agreement Mr. Tuminelli and Poindexter

reached with the government. Mr. Tuminelli testified at the evidentiary hearing that he was retained

by Poindexter in connection with this case and that the representation last approximately 6-9 months.

Tr. at 69. Mr. Tuminelli stated that during the course of the representation, he and Poindexter had

numerous conversations about the potential duration of Poindexter’s incarceration and their interest

in resolving the case through a plea deal with the government. Tr. at 70. Negotiating a resolution

to the case, however, was impossible as long as the government intended to seek an enhancement

at sentencing based on Poindexter’s alleged involvement in the 2001 murder. See id. Mr. Tuminelli

testified that the government had alerted him that it had grand jury testimony from Poindexter’s

girlfriend that implicated him in the murder. See id. at 70-71.

        Mr. Tuminelli advised that the government’s position changed after the defense attorneys

obtained an order by this Court releasing damaging information found in the pretrial services file of

a cooperating witness, Warren Grace. Tr. 71. Mr. Tuminelli’s aptly characterized “what had

occurred with the Government’s witness, Warren Grace” as “a Godsend to Walter Poindexter,

because . . . up until that point . . . the probabilities were that he was going to get a life sentence.”

Tr. at 76. Moreover, this was not just Mr. Tuminelli’s understanding, but also Poindexter’s

understanding: “He understood that [a life sentence] was a likelihood, and, in terms of that plea, both

of us understood that he was extremely fortunate . . . .” Id. Mr. Tuminelli noted that the

government’s plea offer allowed Poindexter to avoid a federal enhancement for the murder as well


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as a possible state murder trial, not to mention the longer sentence he would have been subject to if

convicted of the larger narcotics conspiracy allegations. Tr. at 76-80.

        Accordingly, Mr. Tuminelli explained that he would have been very surprised by any request

to file an appeal and would certainly remember it. If Poindexter had asked Mr. Tuminelli to appeal,

Mr. Tuminelli

        would have thought he was insane, and simply because I thought that he had dodged
        a bullet . . . it would have been absolutely, in my mind, foolish for him to even
        consider that, and if he had asked me for an appeal . . . I certainly would have
        remembered, you know, him raising that kind of issue, because I would have been
        shocked by it

Tr. at 77.

        Moreover, Mr. Tuminelli’s testimony should be credited by this Court because it is consistent

with the documents and other evidence before this Court. For example, Mr. Tuminelli testified that

in approximately August 2004, he communicated with Poindexter and his mother about the impact

of the Supreme Court’s decisions in Booker and Blakely. See Ex. 1, Tr. at 84. Mr. Tuminelli

testified that he did not recall any discussion of an appeal until he received Poindexter’s letter in

February 2005. See id.; see also Ex. 2. And Mr. Tuminelli aptly explained at the evidentiary hearing

his reaction to the February 2005 letter:


        I was angered by it. I understand that Walter got 14 years, and I understand that no
        one wants to spend 14 years or, with diminutions, somewhat less than that in the
        prison, but I thought he had been treated fairly by everyone, and I was angered
        because it suggested that I had ignored his interests, that he had somehow been
        misled, and he had been taken advantage of, and I know that that’s not how I treated
        Walter, and I sort of felt that Walter was ready to throw me under the bus because he
        wanted some kind of relief, and he didn’t care what the truth was.

Tr. at 82 (emphasis added). Mr. Tuminelli’s testimony is supported by a review of Government



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Exhibits 1, 2, & 3, which plainly confirm Mr. Tuminelli’s recollections. Exhibit 1 contains a letter

responding to Poindexter’s mother and memorializing Mr. Tuminelli’s discussions with Poindexter

about Blakely and Booker – yet there is no reference to appeal. See Ex. 1; see also Ex. 8. Moreover,

Exhibits 2 and 3 show that almost immediately after he received Poindexter’s February 14, 2005

letter, Mr. Tuminelli wrote a very direct and straightforward response, dated February 16, 2005,

which read, inter alia:

                 I was unpleasantly surprised by your letter dated February 14, 2005. I have
         several comments.
                 First, I never misled you, deliberately or otherwise. Second, I never assured
         you that you would get a six year sentence. Third, neither you nor your mother
         made repeated requests that I file an appeal for you. . . . My recollection is that you
         and I discussed an appeal, but since you waived an appeal except from an upward
         departure at sentencing, you understood that there were no viable appeal issues . . . .
                 Sixth, and most importantly, . . . [y]ou have conveniently forgotten that you
         wanted a plea agreement, but the government wanted to argue that your sentence
         should be life because of the murder they said you committed. . . . The day before
         you pled guilty, the government finally agreed not to raise the murder at your
         sentencing to enhance your sentence.

Ex. 3.

         Finally, Mr. Tuminelli, unlike Poindexter, does not have a motive to hide the truth from this

Court. To do so would risk his entire professional reputation of 29 years. Instead, it is noteworthy

what he told this Court at the conclusion of his testimony when this Court inquired what Mr.

Tuminelli would have done if he had been asked to appeal. Mr. Tuminelli stated that if Poindexter

had ever asked him to file an appeal, even if Mr. Tuminelli thought the appeal was a terrible idea,

he still would have filed the appeal. Tr. at 95-96. And if Poindexter had ever voiced any thoughts

(even ambiguous ones) to Mr. Tuminelli prior to February 2005 about an appeal, Mr. Tuminelli

made plain that “[he] would have been shocked by it, and [he] would have talked to Walter.” Tr.



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at 81. Later, Mr. Tuminelli made plain that even if he had been asked to file the appeal and had

neglected his duty to do so, he would have alerted the Court. Under no circumstances, would Mr.

Tuminelli “have simply ignored such a request and then ignored that [he] had neglected to do it.”

Tr. at 97.

               2.      This Court Should Reject Poindexter’s Self-Serving Testimony That He
                       Asked His Attorney To File An Appeal.

        In contrast to Mr. Tuminelli’s testimony, Poindexter’s testimony and statements on this issue

cannot be trusted. A few areas of discussion amply demonstrate these points.

        First, and perhaps most significantly, it is difficult to comprehend and believe Poindexter’s

own version of events since it conflicts in such a basic way with common sense. Poindexter alleged

that on three separate occasions he asked Mr. Tuminelli to file an appeal and yet Poindexter cannot

recall anything concerning Mr. Tuminelli’s response aside from the following alleged statement in

the courtroom to Poindexter: “Shush, be quiet.” Tr. at 42-43.

        Moreover, according to Poindexter’s version of events, he never heard anything further about

his requested appeal from Mr. Tuminelli. Yet, it took Poindexter eleven months – until February

14, 2005 – to write a letter to Mr. Tuminelli concerning Poindexter’s alleged request for Mr.

Tuminelli to file an appeal. Tr. at 49, Ex. 2. Equally disturbing, Poindexter never wrote to this

Court to complain about Mr. Tuminelli’s alleged failure to file the requested appeal until

approximately February 2005. See Ex. 7. And during this time, Poindexter was sitting in jail with

nothing to do but think about his own case. Tr. at 50.

        Poindexter testified at the hearing that he understood that it was important to put things in

writing and to file documents with this Court to protect his interests. Tr. at 51. And, yet, under his



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own version of events, he sat idle for almost an entire year, until he brought these issues up again

right before the deadline for filing a petition under Section 2255. This timeline is especially

disturbing because according to Poindexter’s own version of events, he admits that he talked with

Mr. Tuminelli in August 2004 concerning the effect of the Blakely and Booker decisions on his

sentence. See Tr. at 54, Ex. 1. But Poindexter admitted he didn’t raise the issue of the appeal with

Mr. Tuminelli at that time. Tr. at 54-55. In fact, he admitted in his testimony at the evidentiary

hearing that when he spoke with Mr. Tuminelli in the Summer of 2004, he was aware an appeal had

not been filed on his behalf. Tr. at 56 (Question: you knew throughout the summer of 2004 that an

appeal had not been filed? Answer: “Correct”). Yet, Poindexter waited until he was preparing his

petition in the Spring of 2005 to raise the appeal issue by sending letters to this Court and Mr.

Tuminelli.

       Equally unbelievable is Poindexter’s testimony as to his alleged reaction after receiving that

Mr. Tuminelli’s February 2005 letter. See Tr. at 59. According to Poindexter, upon receiving Mr.

Tuminelli’s letter dated February 16, 2005, which denied that Poindexter ever asked him to appeal,

Poindexter’s only reaction was that he “had a different view of, you know, I guess, you know, his

– the things that he says now.” Tr. 59-60, Ex. 3.

       The conflicts between Poindexter’s own testimony and common sense become even more

stark when one considers that Poindexter has every reason in the world to lie. He has testified that

he is very upset with the amount of time that he must now serve in jail and hopes through his petition

to obtain a reduction in his sentence. As this Court is well aware, someone in Poindexter’s position

could easily be inclined to lie (with little or no downside risk) in hopes of receiving a possible

reduction in his sentence.


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       Second, Poindexter’s testimony at the hearing differed in substantial respects from his own

Section 2255 Petition. Poindexter’s own submissions to this Court asserted that Poindexter “was

duped into accepting an ambiguous plea offer which promised a maximum sentence of 48-months.”

Ex. 4. Poindexter further claimed in his petition that he was “placed in a position of having to make

a “Hobson’s Choice” due to the hurried fashion in which the plea offer was presented – standing

handcuffed beside his mother at the rail of the courtroom on the third day of his jury trial – as the

court was about to reconvene after the noon recess.4 Ex. 4.

       In contrast to these statements, Poindexter admitted at the evidentiary hearing that he and his

attorney had long discussed a possible plea that didn’t include a murder enhancement. Tr. at 30. On

several occasions they talked about it and discussed how he would plead guilty if that type of offer

became available. Id. He further admitted that the plea offer he eventually accepted was extended

to him on the third day of trial by Mr. Luna and that he had until the next day to consider the offer

before he actually proceeded with the guilty plea. Tr. at 30-31. He further acknowledged that Mr.

Tuminelli may have had to assure him that the government would still extend the plea offer despite

Mr. Luna being unavailable on the day Poindexter actually wanted to plead guilty. Tr. 31-34, 45.

In fact, at the evidentiary hearing, Poindexter retracted all of his complaints in his Section 2255

petition about the manner in which the plea was presented to him. Disavowing his prior statements

in his petition and letter to Mr. Tuminelli, Poindexter denied having ever had concerns about having

pled guilty, stating: “but never was I upset about me having to enter into a guilty plea.” Tr. at 34.

He stated that his only current complaint is whether he should have been sentenced as a career


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          Similarly in his letter of Mr. Tuminelli dated February 14, 2005, Poindexter claimed
that he “was given literally only a couple minutes to decide whether or not to accept the offer.”
Ex. 2.

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offender. Tr. at 31-34. No doubt Poindexter felt it unnecessary to defend these baseless allegations

after learning that the Fourth Circuit had only allowed his petition to survive on the issue of whether

he asked Mr. Tuminelli to appeal.

       Mr. Tuminelli’s testimony at the evidentiary hearing also contradicted Poindexter’s

allegations in his court filings and his letter of February 14, 2005. Mr. Tuminelli testified that

Poindexter was kept abreast of the case developments (including the plea negotiations) throughout

the case. Mr. Tuminelli testified that Poindexter definitely knew about the government’s proposed

plea offer before the day of the rearraignment. Mr. Tuminelli explained that he is certain of his own

recollection because he remembers Poindexter expressing concern when Mr. Luna could not be

found on the day of the rearraignment that the government might rescind its plea offer. Tr. at 73.

As Mr. Tuminelli testified, “the suggestion that he somehow got pressured into this without thinking

about it, that is – that’s not my recollection, and that’s not what happened.” Tr. at 76.

       Poindexter also claimed in his petition that his attorney, Mr. Tuminelli, “assured [Poindexter]

that he would ‘most likely’ receive the lesser sentence if [Poindexter] promptly accepted the plea

offer.” Ex. B at 3. Similarly, in his letter to Mr. Tuminelli dated February 14, 2005, Poindexter

complained that he was sitting in prison “with a sentence of 14 years as opposed to that of three to

six years that [Mr. Tuminelli] practically assured [Poindexter] of.” Ex. 2. Yet, at the hearing,

Poindexter testified that he understood he could be subject to a 168 month sentence. Tr. at 37. He

further testified (under repeated questioning necessitated by his reluctance to answer the questions

asked by the government) that he couldn’t recall Mr. Tuminelli ever discussing with him whether

he was more likely than not going to be sentenced as a career offender and subject to the higher

sentence as opposed to the lower sentencing range. Tr. at 42. Mr. Tuminelli by contrast, testified at


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the hearing, that as the case proceeded to sentencing, he discussed with Poindexter the nature of his

prior convictions, in particular, the conviction for assault stemming from the shootout with police

officers at Hammerjacks. Tr. at 75. Mr. Tuminelli explained that he also likely had a discussion

with Poindexter about the actual time he would serve in jail. See Tr. at 76. Mr. Tuminelli stated that

he explained to Poindexter that there was no way they could argue that Poindexter was not a career

offender in light of the underlying facts of his prior criminal offenses and the underlying offenses

of which he was convicted. See id.

       Third, there are discrepancies in Poindexter’s own statements about when he asked his

attorney to file an appeal. In his letter dated February 14, 2005 to Mr. Tuminelli, Poindexter simply

wrote that he and his mother repeatedly asked Mr. Tuminelli to file an appeal. He never provided

any specificity about when these requests were made. In his petition, Poindexter alleged that he

asked Mr. Tuminelli to appeal on two different occasions – first, in the courtroom right after the

sentence was announced and second, a few days later while being held at Supermax. Moreover,

neither his February 2005 letter nor his petition mention Ms. Rhyne, nor the details of her alleged

communications to Mr. Tuminelli. Then, in his testimony at the evidentiary hearing, Poindexter

added a claimed discussion with Mr. Tuminelli while in the U.S. Marshals facility on the Sixth Floor

of the U.S. Courthouse.5 It is also revealing how Poindexter’s alleged statements to Ms. Rhyne

conflict with his own chronology of when he told Mr. Tuminelli that he wanted to appeal. At the

hearing, Poindexter testified that he got Ms. Rhyne involved in his appeal issue when “they were

getting ready to shackle me to take me to another facility,” [and] I told . . . Sergeant Rhyne that I’m



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        Interestingly, Poindexter also described how he purportedly placed a collect call to Mr.
Tuminelli’s office from Supermax and said that he wanted to appeal. Tr. at 15.

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getting ready to be moved, but I need to file an appeal within my ten days, and I haven’t had a

chance yet to contact my attorney.” Tr. at 16. Of course, if this Court were to credit Poindexter’s

statements in his 2255 petition and/or his court testimony, he must have talked with Mr. Tuminelli

on two different occasions by the time he talked to Ms. Rhyne.

       Fourth, Poindexter’s testimony at the hearing also conflicted with basic facts concerning his

background such that this Court must seriously question Poindexter’s willingness to offer self-

serving lies. In his Court testimony, Poindexter testified under oath that he had never been convicted

of distributing narcotics despite the obvious evidence to the contrary. Tr. at 21, cf. Ex. 6 at paras.

44-45. He claimed that although he was charged at one point with distribution and possession of

narcotics, he pled solely to the possession charge. Tr. at 21; see also Tr. at 74 (Testimony of A.

Tuminelli) (“I knew he had a prior drug felony, which was possession with intent to distribute.

There was no question in my mind and I think Mr. Poindexter’s mind at the time that that’s what the

conviction was for”). Similarly, Poindexter lied about his prior conviction for assault with intent to

maim, claiming that although he was charged with assault with intent to maim, “it was dropped to

a simple assault.” Tr. at 20-21. In contrast to Poindexter’s testimony, the evidence amply

demonstrates that he had been convicted of assault with intent to maim and distribution of controlled

dangerous substances and that Poindexter knew this from a number of sources, including Mr.

Tuminelli.

       The government submits that Poindexter was also not truthful when he claimed at the

evidentiary hearing that although he pled guilty so he could be released from jail because he “never,

you know, did anything to anybody.” Tr. at 61. He made this statement in response to specific

questions from the government about his prior criminal record, including his conviction for assault


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with intent to maim. His answer reveals his unwillingness to acknowledge the truth – even when

it is patently obvious and indisputable. It is highly unlikely that Poindexter forgot about the

underlying nature of the incidents in question. For example, the conviction for assault with intent

to maim involved a Baltimore City Police Department Detective who responded to the Hammerjacks

parking lot after hearing shots fired. Upon encountering Poindexter, Poindexter decided to engage

in a running gun battle with the officer while trying to flee the area. See Ex. 6.6 Mr. Tuminelli’s

testimony at the hearing further calls into question Poindexter’s truthfulness – Mr. Tuminelli recalled

discussing the underlying facts of the gun battle with the police at Hammerjacks with Poindexter and

advising Poindexter that there was “no way that this is not a crime of violence” because it “simply

was not a simple assault.” Tr. at 75. In addition to the contrast between the facts admitted by

Poindexter and the plain record in this case, the government asks the Court to recall Poindexter’s

entire demeanor when discussing his criminal convictions and how evasive he was in responding to

the government’s questions about these events.

               3.      The Testimony Of Theresa Rhyne Was Not Credible.

       Several aspects of Ms. Rhyne’s testimony should cause this Court to question the veracity

of the information she conveyed to this Court during the sentencing in this case. Her testimony

concerning her conversation with Mr. Tuminelli is not believable and squarely conflicts with Mr.

Tuminelli’s testimony.

       At Poindexter’s request, Ms. Rhyne claimed she called Mr. Tuminelli, left a message, and


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         The government also notes that Poindexter’s alleged use of a firearm to commit murder
on January 21, 2001, which was part of the careful negotiations by the parties in resolving the
underlying criminal case, would certainly have been an instance in which Poindexter did
something to somebody.

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eventually spoke with him. She recalled telling Mr. Tuminelli that Poindexter wanted to appeal and

Mr. Tuminelli agreeing that he would file an appeal for Poindexter. Tr. at 4-5. As an initial matter,

her recollection of this event is extraordinary given the fact that she is responsible for 100 or more

prisoners at any given time and has worked at MCAC for 9 years.

        Moreover, Ms. Rhyne’s alleged conversation was out of character with her duties and

responsibilities at MCAC, which she conceded are focused on obtaining clothing, soap, toothpaste,

and other necessary essentials for prisoners and rarely involve contacting attorneys. Tr. at 6. She

certainly has no official responsibility to intercede on prisoner’s behalf. Tr. at 6. In light of the sheer

number of prisoners she is responsible for, it would have been understandable if Ms. Rhyne didn’t

recall Poindexter’s name, much less Mr. Tuminelli’s name and the details of her supposed

conversation with him.

        Nevertheless, she claimed to recall the conversation and testified that Mr. Tuminelli didn’t

seem at all surprised by the request that he file an appeal on behalf of Poindexter. Tr. at 9. The

government submits that this is not believable in light of Mr. Tuminelli’s statements that if he had

ever been asked to appeal at any point throughout this case, he would have been shocked. He also

testified that although he has spoke to Ms. Rhyne in the past, he doesn’t recall ever receiving a call

from her on behalf of Poindexter. See Tr. at 82 (“I don’t ever recall a conversation from or a call

from Officer Rhyne, and I frankly don’t believe that I ever received such a call.”).

        Moreover, given the overall context of this case – Poindexter pleading guilty under a very

favorable plea agreement in the middle of Jonathan Luna’s final trial – it is highly unlikely that Mr.

Tuminelli asked no questions upon being asked to appeal. Yet, Ms. Rhyne testified that was exactly

how the conversation went. Tr. at 9-10. Furthermore, Ms. Rhyne’s testimony in Court was very


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emphatic that she had a plain recollection of asking Mr. Tuminelli to appeal on behalf of Mr.

Poindexter. Yet, moments before her testimony, she admitted that she had been confused in the

hallway and told the government that she asked Mr. Tuminelli to file a motion for reconsideration.

Tr. 8-9. This incident highlights that Ms. Rhyne’s recollection of events cannot be trusted by this

Court.7

          B.     There Are No Other Grounds That Warrant This Court Granting Poindexter’s
                 Section 2255 Petition.

          To the extent that Poindexter’s brief before this Court argues for the first time that his

attorney was constitutionally ineffective in failing to consult with him about an appeal, this argument

is legally and factually unavailing. Unlike the per se rule that the Fourth Circuit has applied to

attorneys’ failure to file appeals after being asked to do so, see United States v. Poindexter, 492 F.3d

263, 272 (4th Cir. 2007), the Supreme Court and the Fourth Circuit have rejected a bright-line rule

with regard to the so-called “duty to consult.” Instead, the Supreme Court has instructed that in

evaluating whether a duty to consult has been violated, courts should examine whether “there is

reason to believe that either (1) a rationale defendant would want to appeal or (2) the defendant

reasonably demonstrated to his attorney that he was interested in appealing.” Id. at 268. This “duty

to consult” standard is different from the situation presented when an attorney ignores the clients

request to file an appeal.

          In this case, Mr. Tuminelli’s testimony at the evidentiary hearing established that he had


          7
           Furthermore, the government submits that Ms. Rhyne’s testimony is legally insufficient
to provide a factual basis for a finding of per se ineffective assistance. The government is not
aware of any legal precedents requiring attorneys to blindly accept instructions to appeal from
surrogates as opposed to the client himself/herself. Indeed, an attorney might commit a grievous
error if she/he took such a significant action as the filing of an appeal based merely on hearsay
that the client wanted the attorney to appeal.

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several discussions with Poindexter concerning the plea and appeal. Tr. at 79, see also Ex. 3 (“My

recollection is that you and I discussed an appeal, but . . . you understood that there were no viable

appeal issues . . .”). Moreover, even if such discussions had not taken place, Mr. Tuminelli made

plain that in his professional judgment any appeal would have been fruitless and could have resulted

in the reopening of the murder allegations as well as the larger narcotics conspiracy.8 Under the

applicable legal standards laid down in Flores-Ortega, there was no duty to consult because no

rationale defendant in Poindexter’s situation would have wanted to appeal and/or manifested the

desire to appeal after having a full discussion with his attorney about an appeal. See, e.g., United

States v. Edgerton, 2008 WL 2567663, *4 (4th Cir. Jun. 27, 2008). Accordingly, this Court should

reject any invitation to find constitutional ineffectiveness on grounds beyond the alleged request to

file an appeal.




        8
         Mr. Tuminelli’s judgment as to the fruitlessness of an appeal was well founded –
Poindexter had obtained a favorable plea, he had waived his right to appeal, and even if
Poindexter had challenged his status as a career offender, it is plain that his prior convictions are
qualifying convictions. See U.S.S.G. § 4B1.1; United States v. Byrd, 995 F.2d 536, 537-38 (4th
Cir. 1993); United States v. Harp, 406 F.3d 242 (2005).

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                                       CONCLUSION


       The government respectfully requests that this Court DENY petitioner’s claim for relief

pursuant to 28 U.S.C. § 2255.




                                            Respectfully Submitted,

Date: September 17, 2008                    Rod J. Rosenstein
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of September 2008, a copy of the Government’s

Post-Hearing Brief was electronically served on the following individual who receives electronic

notice through CM/ECF as listed on the CM/ECF Notice of Electronic Filing, as well as by first

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                                     _______/s/______________
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